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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF NEW JERSEY

     In re:                                            )
                                                       )
              LTL MANAGEMENT LLC,                      )   Lead BK Case: 23-12825-MBK
                                                       )
              Debtor.                                  )

 AD HOC GROUP OF MESOTHELIOMA CLAIMANTS’ JOINDER TO MOTION TO
 DISMISS THE SECOND BANKRUPTCY PETITION OF LTL MANAGEMENT AND
  REPLY IN SUPPORT OF MOTION FILED BY THE OFFICIAL COMMITTEE OF
                        TALC CLAIMANTS

              The Ad Hoc Group of Mesothelioma Claimants,1 through undersigned counsel

 and pursuant to Section 1112(b) of the Bankruptcy Code and Rule 9011 of the Bankruptcy

 Rules, respectfully moves this Court to Dismiss LTL Management’s Petition. In the

 interests of judicial economy, the Ad Hoc Group adopts and hereby incorporates by

 reference all arguments and evidence contained in the Motion to Dismiss filed by the

 Official Committee of Talc Claimants (Dkt. 286) and its Reply (to be filed).

 Respectfully submitted:

 MAUNE RAICHLE HARTLEY
 FRENCH & MUDD, LLC

 /s/ Clayton L. Thompson
 _________________________
 Clayton L. Thompson, Esq.


 1The Ad Hoc Group is composed of claimants Katherine Tollefson, Evan Plotkin and Giovanni Sosa (all
 appellants to the Third Circuit in LTL1), joined in this Request by Sandra Weathers, Mary Jackson, Elizabeth
 Meikle, Marzena Zachara, Robert Radin, and Christine Woodfin, all mesothelioma claimants.
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 cthompson@mrhfmlaw.com
 MAUNE RAICHLE HARTLEY
 FRENCH & MUDD, LLC
 150 W. 30th Street, Suite 201
 New York, NY 10001
 (800) 358-5922
 Attorneys for Mesothelioma Claimants
 Katherine Tollefson, Sandra Weathers,
 Mary Jackson, Elizabeth Meikle, Marzena Zachara,
 Robert Radin, and Christine Woodfin

 COONEY & CONWAY

 /s/ Kathy Byrne
 _____________________
 Kathy Byrne, Esq.
 kbyrne@cooneyconway.com
 120 N. LaSalle Street, Suite 3000
 Chicago, Illinois 60602
 Tel: (312) 236-6166
 Attorneys for Mesothelioma Claimant Giovanni Sosa
 *Admitted Pro Hac Vice

 DEAN OMAR BRANHAM SHIRLEY, LLP

 /s/ J. Bradley Smith
 ____________________
 J. Bradley Smith, Esq.
 Bsmith@dobslegal.com
 302 N. Market Road
 Suite 300
 Dallas, Texas 75202
 Tel: (214) 722-5990
 Attorneys for Mesothelioma Claimant Evan Plotkin
 *Admitted Pro Hac Vice



 LEX NOVA LAW, LLC


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 /s/ E. Richard Dressel
 ______________________
 E. Richard Dressel, Esq.
 rdressel@lexnovalaw.com
 10 E. Stow Road, Suite 250
 Marlton, New Jersey 08053
 Tel: (856) 382-8211
 Attorneys for Mesothelioma Claimants Evan Plotkin and Giovanni Sosa




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